                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

CENTER CITY HEALTHCARE, LLC d/b/a
HAHNEMANN UNIVERSITY HOSPITAL, et al.,                            Case No. 19-11466 (MFW)

                   Debtors.1                                      Jointly Administered
                                                                  Re: Docket No. 3117

      NOTICE OF AMENDED2 AGENDA FOR VIDEO HEARING SCHEDULED FOR
    NOVEMBER 19, 2021 AT 10:30 A.M. (PREVAILING EASTERN TIME) BEFORE THE
       HONORABLE MARY F. WALRATH, U.S. BANKRUPTCY COURT JUDGE


    THIS REMOTE HEARING WILL BE CONDUCTED ENTIRELY BY ZOOM
      AND REQUIRES ALL PARTICIPANTS TO REGISTER IN ADVANCE.
             COURTCALL WILL NOT BE USED TO DIAL IN.
     PLEASE USE THE FOLLOWING LINK TO REGISTER FOR THIS HEARING:
     https://debuscourts.zoomgov.com/meeting/register/vJIsf-6srzwjGbFE9cvYvNJcbotVwweUimg
    After registering your appearance by Zoom, you will receive a confirmation email containing
                                  log-in formation for the hearing.

     ALL PARTIES MUST REGISTER NO LATER THAN 8:30 A.M. (ET) ON NOVEMBER 19, 2021


RESOLVED MATTERS:

1.       Motion of Debtors for Approval of Settlement of Preference Claims against Heery
         International, Inc. Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket No.
         2935; Adversary No. 11; filed: 10/11/21]

         Response Deadline: October 25, 2021 at 4:00 p.m.


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         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
         Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
         PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
         Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
         Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
         (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
         216 N. Broad Street, 4th Floor, Philadelphia, Pennsylvania 19102.

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         All Amended Agenda items appear in bold.

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         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 2987; Adversary No. 12; filed:
                   10/26/21]

         B.        Order Approving Settlement of Preference Claims against Heery International,
                   Inc. Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket No. 2993;
                   Adversary No. 13; signed and docketed: 10/27/21]

         Status: On October 27, 2021 the Court entered an order approving this motion.

2.       Motion of Debtors for Approval of Settlement of Preference Claims against Abiomed
         R&D, Inc., as Successor-in-Interest to Abiomed Cardiovascular, Inc. Pursuant to Federal
         Rule of Bankruptcy Procedure 9019 [Docket No. 2943; filed: 10/12/21]

         Response Deadline: October 26, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 2995; filed: 10/27/21]

         B.        Order Approving Settlement of Preference Claims against Abiomed R&D, Inc.,
                   as Successor-in-Interest to Abiomed Cardiovascular, Inc. Pursuant to Federal
                   Rule of Bankruptcy Procedure 9019 [Docket No. 2996; signed and docketed:
                   10/28/21]

         Status: On October 28, 2021 the Court entered an order approving this motion.

3.       Motion of the Debtors for Entry of an Order Authorizing the Debtors to File Under Seal
         the Unredacted Version of the Debtors’ Ninth Omnibus Objection to Claims (Non-
         Substantive) Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy
         Rules 3001, 3003, and 3007, and Local Rule 3007-1 [Docket No. 2952; filed: 10/15/21]

         Response Deadline: October 29, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 3004; filed: 11/01/21]

         B.        Order Authorizing the Debtors to File Under Seal the Unredacted Version of the
                   Debtors’ Ninth Omnibus Objection to Claims (Non-Substantive) Pursuant to
                   Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003,


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                   and 3007, and Local Rule 3007-1 [Docket No. 3013; signed and docketed:
                   11/02/21]

         Status: On November 2, 2021 the Court entered an order approving this motion.

4.       Motion of Debtors for Approval of Settlement of Preference Claims against CompHealth
         Associates Inc. Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket No.
         2954; Adversary No. 11; filed: 10/12/21]

         Response Deadline: October 29, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 3005; Adv. No. 12; filed: 11/01/21]

         B.        Order Approving Settlement of Preference Claims against CompHealth
                   Associates Inc. Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket
                   No. 3014; Adversary No. 13; signed and docketed: 11/02/21]

         Status: On November 2, 2021 the Court entered an order approving this motion.

5.       Motion of Plaintiffs for Approval of Settlement of Preference Claims against Airgas Inc.
         Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket No. 2978; Adversary
         No. 11; filed: 10/25/21]

         Response Deadline: November 8, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 3059; Adversary No. 13; filed:
                   11/09/21]

         B.        Order Approving Settlement of Preference Claims against Airgas Inc. Pursuant
                   to Federal Rule of Bankruptcy Procedure 9019 [Docket No. 3070; Adversary No.
                   12; signed and docketed: 11/10/21]

         Status: On November 10, 2021 the Court entered an order approving this motion.

6.       Motion of Debtors for Approval of Settlement of Preference Claims against Suture
         Express Inc. Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket No. 2982;
         filed: 10/26/21]

         Response Deadline: November 9, 2021 at 4:00 p.m.

         Responses Received: None

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         Related Documents:

         A.        Certification of No Objection [Docket No. 3066; filed: 11/10/21]

         B.        Order Approving Settlement of Preference Claims against Suture Express Inc.
                   Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket No. 3083;
                   signed and docketed: 11/12/21]

         Status: On November 12, 2021 the Court entered an order approving this motion.

7.       Motion of Debtors for Approval of Settlement of Preference Claims against Arthrex Inc.
         Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket No. 2983; Adversary
         No. 11; filed: 10/26/21]

         Response Deadline: November 9, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 3067; Adversary No. 13; filed:
                   11/10/21]

         B.        Order Approving Settlement of Preference Claims against Arthrex Inc. Pursuant
                   to Federal Rule of Bankruptcy Procedure 9019 [Docket No. 3084; Adversary 14;
                   signed and docketed: 11/12/21]

         Status: On November 12, 2021 the Court entered an order approving this motion.

8.       Motion of Debtors for Approval of Settlement of Preference Claims against Medical
         Doctor Associates Inc. Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket
         No. 2984; Adversary Docket No. 11; filed: 10/26/21]

         Response Deadline: November 9, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 3068; Adversary No. 14; filed:
                   11/10/21]

         B.        Order Approving Settlement of Preference Claims against Medical Doctor
                   Associates Inc. Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket
                   No. 3085; Adversary No. 15; signed and docketed: 11/12/21]

         Status: On November 12, 2021 the Court entered an order approving this motion.



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9.       Motion of Debtors for Approval of Settlement of Preference Claims against Orthofix Inc.
         Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket No. 2985; filed:
         10/26/21]

         Response Deadline: November 9, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 3069; Adversary No. 14; filed:
                   11/10/21]

         B.        Order Approving Settlement of Preference Claims against Orthofix Inc. Pursuant
                   to Federal Rule of Bankruptcy Procedure 9019 [Docket No. 3086; Adversary
                   Docket No. 15; signed and docketed: 11/12/21]

         Status: On November 12, 2021 the Court entered an order approving this motion.

10.      Motion of Debtors for Approval of Settlement of Preference Claims against Eckert
         Seamans Cherin and Mellott LLP Pursuant to Federal Rule of Bankruptcy Procedure
         9019 [Docket No. 2994; filed: 10/27/21]

         Response Deadline: November 10, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 3078; filed: 11/11/21]

         B.        Order Approving Settlement of Preference Claims against Eckert Seamans Cherin
                   and Mellott LLP Pursuant to Federal Rule of Bankruptcy Procedure 9019 [Docket
                   No. 3103; signed and docketed: 11/12/21]

         Status: On November 12, 2021 the Court entered an order approving this motion.

CONTINUED MATTER:

11.      Motion of Creditor Pamela Saechow Seeking Relief from the Automatic Stay Pursuant to
         11 U.S.C. § 362 [Docket No. 2623; filed: 07/27/21]

         Response Deadline: August 9, 2021 at 4:00 p.m.; extended to seven days before the
         hearing for the Debtors.

         Responses Received: None to date

         Related Documents: None to date


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         Status: This matter is continued to a date to be determined in January, 2022.

12.      The Motion of the Broad Street Entities and PAHH for Entry of an Order (I) Determining
         that the Automatic Stay Does Not Apply to Their Assets or (II) in the Alternative,
         Granting Limited Relief from the Automatic Stay for Them to Sell, Transfer, or
         Otherwise Encumber Such Assets [Docket No. 3002; filed: 10/29/21]

         Response Deadline: November 12, 2021 at 4:00 p.m.; extended to November 24, 2021
         for the Debtors, the Official Committee of Unsecured Creditors, HSRE and Tenet
         Business Services Corporation and Conifer Revenue Cycle Solutions, LLC

         Responses Received:

         A.        Limited Objection of City of Philadelphia [Docket No. 3101; filed: 11/12/21]

         B.        Objection of Tenet Business Services Corporation and Conifer Revenue Cycle
                   Solutions, LLC [Docket No. 3102; filed: 11/12/21]

         C.        Joinder of HSRE-PAHH I, LLC and Its Affiliates to Objections [Docket No.
                   3105; filed: 11/13/21]

         Related Documents:

         D.        Order Approving Stipulation Regarding Comfort / Lift Stay Motion and
                   Discovery Motions [Docket No. 3116; signed and docketed: 11/16/21]

         Status: This matter is continued to December 1, 2021 at 10:30 a.m.

CERTIFICATION OF COUNSEL / CERTIFICATION OF NO OBJECTION MATTERS:

13.      [FILED UNDER SEAL] Debtors’ Ninth Omnibus Objection to Claims (Non-
         Substantive) Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy
         Rules 3001, 3003, and 3007, and Local Rule 3007-1 [Docket No. 2951; filed: 10/15/21]

         Response Deadline: October 29, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

           A.      Declaration of Allen Wilen in Support of Debtors’ Ninth Omnibus Objection to
                   Claims (Non-Substantive) Pursuant to Sections 502(b) and 503 of the Bankruptcy
                   Code, Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1 [Docket
                   No. 2951-3 / 2953-3; filed: 10/15/21]

           B.      [REDACTED] Debtors’ Ninth Omnibus Objection to Claims (Non-Substantive)
                   Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules
                   3001, 3003, and 3007, and Local Rule 3007-1 [Docket No. 2953; filed: 10/15/21]


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           C.      [FILED UNDER SEAL] Certification of Counsel Regarding (I) Proposed
                   Order Sustaining Debtors’ Ninth Omnibus Objection to Claims (Non-
                   Substantive) Pursuant to Sections 502(b) and 503 of the Bankruptcy Code,
                   Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1 and (II) No
                   Objection to Same [Docket No. 3023; filed: 11/02/21]

           D.      [REDACTED] Certification of Counsel Regarding (I) Proposed Order
                   Sustaining Debtors’ Ninth Omnibus Objection to Claims (Non-Substantive)
                   Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules
                   3001, 3003, and 3007, and Local Rule 3007-1 and (II) No Objection to Same
                   [Docket No. 3024; filed: 11/02/21]

           E.      Notice of Submission of Proof of Claim [Docket No. 3040; filed: 11/04/21]

         Status: On November 2, 2021, the Debtors file a certification of counsel regarding this
                 claim objection. Accordingly, no hearing is necessary unless the Court has any
                 questions.

14.      Motion of Debtors for Approval of Settlement of Preference Claims against People’s
         Capital and Leasing Corp. Pursuant to Federal Rule of Bankruptcy Procedure 9019
         [Docket No. 3001; Adversary No. 11; filed: 10/29/21]

         Response Deadline: November 12, 2021 at 4:00 p.m.

         Responses Received: None

         Related Documents:

         A.        Certification of No Objection [Docket No. 3109; Adversary No. 13; filed:
                   11/15/21]

         B.        Order Approving Settlement of Preference Claims against People’s Capital
                   and Leasing Corp. Pursuant to Federal Rule of Bankruptcy Procedure 9019
                   [Docket No. 3128; Adversary Docket No. 14; signed and docketed: 11/17/21]

         Status: On November 17, 2021, the Court entered an order approving this motion.

MATTERS GOING FORWARD:

15.      [REDACTED] Motion of Debtors for Entry of an Order (I) Authorizing Debtors to Enter
         into Assignment, Assumption and Novation Agreement Pursuant to 11 U.S.C. § 363 and
         (II) Granting Related Relief [Docket No. 2916; filed: 10/04/21]

         Response Deadline: October 18, 2021 at 4:00 p.m.; extended for the Committee to
         October 20, 2021 at 4:00 p.m.




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         Responses Received:

         A.        Limited Response of the Official Committee of Unsecured Creditors [Docket No.
                   2967; filed: 10/20/21]

         Related Documents:

         B.        [FILED UNDER SEAL] Motion of Debtors for Entry of an Order
                   (I) Authorizing Debtors to Enter into Assignment, Assumption and Novation
                   Agreement Pursuant to 11 U.S.C. § 363 and (II) Granting Related Relief [Docket
                   No. 2937; filed: 10/11/21]

         Status: This matter is continued to a date to be determined

16.      Debtors’ and Committee’s Expedited Motion to (A) Compel Discovery on Motion of the
         Broad Street Entities and PAHH for Entry of an Order (I) Determining That the
         Automatic Stay Does Not Apply to Their Assets or (II) in the Alternative, Granting
         Limited Relief from the Automatic Stay for Them to Sell, Transfer, or Otherwise
         Encumber Such Assets and (B) to Continue Hearing [Docket No. 3053; filed: 11/08/21]

         Response Deadline: November 18, 2021 at 12:00 p.m.

         Responses Received:

         A.        Joinder of HSRE-PAHH I, LLC and Its Affiliates to Debtors’ and Committee’s
                   Expedited Motion to Compel Discovery and to Continue Hearing [Docket No.
                   3057; filed: 11/09/21]

         B.        Joinder of Tenet Business Services Corporation and Conifer Revenue Cycle
                   Solutions, LLC to Debtors’ and Committee’s Expedited Motion to Compel
                   Discovery and to Continue Hearing [Docket No. 3061; filed: 11/09/21]

         C.        Gordon Brothers Realty Services, LLC’s Opposition [Docket No. 3077; filed:
                   11/11/21]

         Related Documents:

         D.        Order Denying Expedited Consideration of Debtors’ and Committee's
                   Expedited Motion to (A) Compel Discovery on Motion of the Broad Street
                   Entities and PAHH for Entry of an Order (I) Determining That the Automatic
                   Stay Does Not Apply to Their Assets or (II) in the Alternative, Granting Limited
                   Relief from the Automatic Stay for Them to Sell, Transfer, or Otherwise
                   Encumber Such Assets and (B) to Continue Hearing [Docket No. 3079; signed
                   and docketed: 11/12/21]

         E.        Order Approving Stipulation Regarding Comfort / Lift Stay Motion and
                   Discovery Motions [Docket No. 3116; signed and docketed: 11/16/21]



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         Additional Documents:

         F.        Respondents’ Objection to Debtors’ and Committee's Motion to Compel
                   Discovery [Docket No. 3140; filed: 11/18/21]

         G.        MBNF Non-Debtor Entities’ Objection to Tenet Business Service
                   Corporation’s Joinder to Debtors’ and Committee’s Motion to Compel
                   Discovery [Docket No. 3141; filed: 11/18/21]

         Status: This matter is going forward as to the Respondents only.

17.      Respondents’ Motion to (I) Quash the Debtors’ and the Creditors’ Committee’s Notice of
         Rule 26 and 30(b)(6) Deposition and Subpoenas and (II) for Entry of a Protective Order
         Limiting Written Discovery [Docket No. 3055; filed: 11/08/21]

         Response Deadline: November 15, 2021 at 4:00 p.m.

         Responses Received:

         A.        Objection of Debtors and Committee To Respondents’ Motion To (I) Quash The
                   Debtors’ and The Creditors’ Committee’s Notice of Rule 26 And 30(b)(6)
                   Deposition And Subpoenas And (II) For Entry Of A Protective Order Limiting
                   Written Discovery [Docket No. 3115; filed: 11/16/21]

         Related Documents:

         B.        Order Approving Stipulation Regarding Comfort / Lift Stay Motion and
                   Discovery Motions [Docket No. 3116; signed and docketed: 11/16/21]

         Status: This matter is going forward.




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Dated: November 18, 2021         SAUL EWING ARNSTEIN & LEHR LLP

                           By:   /s/ Mark Minuti
                                 Mark Minuti (DE Bar No. 2659)
                                 Monique B. DiSabatino (DE Bar No. 6027)
                                 1201 N. Market Street, Suite 2300
                                 P.O. Box 1266
                                 Wilmington, DE 19899
                                 Telephone: (302) 421-6800
                                 Fax: (302) 421-6813
                                 mark.minuti@saul.com
                                 monique.disabatino@saul.com

                                        -and-

                                 Jeffrey C. Hampton
                                 Adam H. Isenberg
                                 Centre Square West
                                 1500 Market Street, 38th Floor
                                 Philadelphia, PA 19102
                                 Telephone: (215) 972-7777
                                 Fax: (215) 972-7725
                                 jeffrey.hampton@saul.com
                                 adam.isenberg@saul.com

                                 Counsel for Debtors and Debtors in Possession




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